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                     EXHIBIT C
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O




                                              BERNIE       WORRELL


                       AUDIT    OF   THANG,        INC.      &     MALBIZ         MUSIC   INC.


                               INCEPTION         TO    DECEMBER             31,    1979




O
                                             HERZOG          AND       STRAUS
                                           CERTIFIED      PUBLIC     ACCOUNTANTS
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                                                                                       SUITE   601
                                                                              65 EAST55TH          STREET
                                                                           NEW YORK.      NEW YORK         10022
                                                                                    (212) 751-4850




                                                                                                                                                   JULY        7,       1980


    NR.     BERNIE             WORRELL
     956    MELROSE                 PLACE
    PLAINFIELD,                     N.J.          07063




    DEAR      NR.         VCRRELL,

              AT        YOUR   REQUEST,                          WE     HAVE          REVIEWED             THE      BOCKS      AND       RECORDS          OF
    THANG,INC.              AND MALBIZ                           lvUSIC,           INC.      WITH    REGARD   TO               THE       ROYALTIES              DUE
    YOU     FROv1            BOTH          THESE  ENTITIES.                               OUR   REVIEW    COVERED    THE                    PERIOD             FRCM
    THE      IN"EPTION                     OF YOUR   DEALINGS                             WITH    THEM   TO THE   PERIOD                     EbDED             DECEMBER
     31,    1979.


              OUR         REPORT             IS      AS          FOLLONS:


                                A - ROYALTIES
                   SCHEDULE_______________________________________
                                                       DUE    YOU                                    RE:        PARLIAMENT


                   WE    WERE              INFORMED                BY      YCU        THAT     A     ROYALTY           OF    3/4     OF     1%      IS    DUE          YOU
    WITH      REFERENCE                      TO THE          ARTIST              ROYALTIES                 OF      "PARLIAMENT".              THANG,                INC.'S
    REPRESENTATIVES                          HAD      ORALLY                 CON-IRMED               THAT          FACTOR     DURING          THE        COURSE
    OF  OUR REVIEW.


            DUE         TO    THE          SKETCHINESS                     OF      THE   AVAILABLE      BOCKS          AND  RECORDS       OF THANG
                                                                                                                                            ' S
    150,     WE         ASKED,             AND WERE                   GIVEN        WRITTEN     PERMISSION             BY THANG,      INC.
    REPRESENTATIVES                          TO     CONTACT                  CASABLANCA               RECORDS,     THE  ORGANIZATION          PAYING
    ROYALTIES     TO                 THANG,               INC.          BASED     UPON             THE   INFORMATION     RECEIVED       FROvl    THIS
    SOURCE,             WE    HAVE           SUvMARIZED                      THE       ROYALTY             STATEMENTS              AND    PAYMENTS              RECEIVED
    BY  THANG,               INC.               SUvMARY
                                             THIS                  SHONN   ON    IS         A,                  SCHEDULE
                                                                                                                       IT                EXHIBIT          1.
    SHO#S      THAT          $2,260,179.93,           WAS      EARNED     BY PARLIAMENT        DURIbG      THE    PERIOD
    AbD     THAT         $2,563,415.93,             WAS    PAID      TO OR ON BEHALF      OF PARLIAMENT            BY
    CASABLANCA               RECORDS        DURING     THE     PERIOD,     LEAVING     A NEGATIVE        BALANCE      OF
    $303,235.67,                AS    AT    DECBVIBER      31,     1979.     THE   GREAT  BULK     OF    THESE
    ROYALTIES             WERE      PAID      AT A ROYALTY           RATE  OF   10%   OF RETAIL      LIST     PRICE.

    THJS,      YCUR           SHARE            IS     7      1      2%      OF     THE       10%      PAID.
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            WE      HAVE,            ON        SCHEDULE             A      ATTACHED,                 CALCULATED                    THAT           $169,513.48,                     IS
     DUE      YOU         AS        YOUR        SHARE       OF            THE  GROSS                ROYALTY          EARNINGS                     OF THANG,               INC.
     FROvi        THIS          SOURCE.             WE     HAVE            ESTIN¾TED,               OF
                                                                                                   DUE   TO  A
                                                                                                         INFORMATION,          LACK
     AN      AVERAGE                RECORDING              COST            FOR   THE           SEVEN
                                                                                              USDER    THE
                                                                                                       ALBLMS AGREEMENT
     OF      $40,000.00,                 PER       ALBLM   AIND   REDUCED   YOUR    SHARE      OF THE     GROSS    ROYALTY
     EARNINGS               BY        $21,000.00,         OR   YOUR   PROPORTIONATE         SHARE    OF    THE  RECORDING
    COSTS.                THJS,          THE      NET  ANCLNT     DUE  YOU   IS  $148,513.49.


            WE HAVE                 PREVIOUSLY              NOTED               THAT         THANG,           INC.            IS     IN       A    NEGATIVE              POSITION
    OF      $303,235.67.                     THIS             IS        BROLD-IT       ABOUT,      PRINCIPALLY,                                    BY     THANG,             INC.'S
    RECEIPT             OF CASH                 ADVANCES                OVER       AND   ABOVE     THE   ROYALTIES                                    EARNED     AS           SHOWN
    ON      THE        ROYALTY                 STATEMENTS.                      YOUR    SHARE    OF THIS      AlvCUNT                                 IS  $22,742.68.
     TO     THE          BEST        OF        OUR KhDWLEDGE,                      YOU   HAVE    NEVER     RECEIVED                                   ANY        ROYALTY
     STATEMENTS                     FROv1       -0-IANG,           INC.         FOR   THIS    TYPE    OF ROYALTY.



          SCHEDULE              B    -    AMDUNT           DUE          RE:          ROYALTY          STATEMENTS                     -    h¾LBIZ              MJSIC£INC.


              THE         ONLY           ROYALTY   STATEMENTS                           YOU         HAVE   RECEIVED               ARE  ROYALTIES           AS
    DEC.         31,      1978.            WE HAVE    CHECKED                          THESE          STATEMENTS                    TO
                                                                                                                                   THE    ACTUAL      ROYALTIES
    RECEIVED     BY MALBIZ     AND WE HAVE      FOUND   THAT    AN                                                        ADDITIONAL        $2,608     .76     IS
    DUE   YOU.    THE    BASIS    FOR   BOTH  OUR   CALCULATIONS                                                             AND   MALBIZ'S        ARE     THE
    "WRITER"
                 ROYALTY      STATEMENTS     PREPARED     BY RIO<'S                                                                 IvUSIC,             INC.,          THE
    CO-PUBLISHER      OF THE      COPYRIGHTS     AND   A CCMPANY                                                              CLOSELY                 AFFILIATED                  WITH
    CASABLANCA                RECORDS.                     THE            SCHEDULE              COVERS           THE           PERIOD              TO     DEC.         31,1978,
    WHICH           IS     THE   LAST              ROYALTY                STATEMENT                 RECEIVED              BY        YOU.




               SCHEDULE                   C_;_WR           TERS           ROYALT          ES        DUE_             O    MARCH            3      1     980


               THIS            SCHEDULE      COVERS                       THE         PERIOD       FRCM   THE   LAST   ROYALTY     STATEMENT
    CALCULATED                  THAT    $12,550.46,                             IS     DUE      YOU   FRCM   ROYALTIES     RECEIVED     BY
    MALBIZ               MJSIC            FROvi      RICK'S               MJSIC.               IT     SHOULD             BE        bDTED           THAT         THIS         SCHEDULE
     IS     IbCCMPLETE                    IN      THAT      NO        ROYALTIES                 FRCM   OTHER     RECORD                           MANUFACTURERS
    (IE.       WARNERS,                   ATLANTIC,ARISTA)                             HAVE       BEEN   IbCLUDED.
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                 SCHEDULE               D-ARTIST             ROYALTIES               -     FUNKADELIC

                   YOU        HAVE           INFORMED          US     THAT,          IN      ADDITION               TO      THE       ARTIST         ROYALTIES
    DUE       YOU       FROM          PARLIAMENT,                  YOU    ARE        ALSO         DUE       ARTIST               ROYALTIES           FROM
    FUN<ADELIC,                     WHICH    WAS            RELEASED            ON       WARNER    BROS.                 RECORDS.       USING    THE
    SAME   BASIS                   AS  SCHEDULE             HAVE
                                                             A,  WE                      CALCULATED                $43,932.23         IS   DUE  YOU
    TO_THE_Bg                 8LTy_PEB[OD       ENDED     DEC.    3111928,                                   THE    LAST      ROYALTY      STATEMENT
    AVAILABLE                 TO US.      AS   SUCH,     THIS    SCHEDULE                                  IS    INCOMPLETE         AND    REPRESENTS
    AN       Alv0UNT          THAT    IS  MOST    LIKELY      UNDERSTATED.                                     AGAIN,               NO    ROYALTY
         STATEMENTS                 HAVE       EVER         BEEN     RECEIVED                BY     YOU      FROM           THANG,           INC.      FOR      THESE
    ROYALTIES.


                 SCHEDULE               E_;_AMOUNT              DUE       RE1AR                     RECORDS              ARTIST_8GREEMENT
                                                                                           STe

                  YOU        HAVE         INFORMED            US THAT  YOUR   AGREEMENT                                  WITH        THANG,INC.,               WITH
    REGARD             TO    YOUR         ALBUM   ON          ARISTA  RECORDS   WAS   A                             50/50           SPLIT    AFTER
    RECORDING                  COSTS.                TO      DATE,        YOU        HAVE         RECEIVED               NEITHER           ROYALTIES            OR
    A     ROYALTY             STATEMENT               COVERING            THIS           RECORD(ItsCLUDIN3                         WRITER           ROYALTIES).
    A     SLM  OF         NDNEY,             PURPORTEDLY        FOR   THIS    VENTURE       ($20,000.00),                                            WAS   RECEIVED
    BY     YOU         IN  LATE           1978,      BUT   WAS   THEN      APPLIED      AS    AN OVERALL        ADVANCE    TO
              WRITERS'
    THE                              STATEMENTS           RECEIVED      BY YOU.
                 WE HAVE             READ       THE   AGREEMENT       BETWEEN      ARISTA      RECORDS      AND    THANG,   INC.   ,
    WITH         REFERENCE               TO     THIS    ALBLM    AND WE HAVE        VERIFIED         THAT   THE    MONIES     PAID
    TO     THANG,           INC.       IINCLUDED        A $50,000.00        ADVANCE       AND      A $65,000.00        ALBUM
    TO     THIS         ALBUM           BY     THANG,INC.                OF     $32,056.63.                    THUS,               YOUR   SHARE     OF         THIS
    AGREEMENT                 IS     50%      OF      THE     SHORTFALL,               OR         $41,471.69                     (50%   OF   $82,943.37)                .




                 WE     HAVE         PREVIOUSLY               NOTED           THAT         RICK'S          ivUSIC           IS     THE     CO-PUBLISHER
    OF     ALL      PARLIAMENT                  COPYRIGHTS                OANED            BY     M4LBIZ        MUSIC,INC.                     MALBIZ          HAS
    TAKEN         THE   POSITION                   OF     ACCEPTING              THE        ROYALTY            STATEMENTS                  SUBMITTED            BY
    RIO<'S            MUSIC          TO      THEM,        WITHOUT             VERIFYIfNG             THE       ACOURACY                  OF CONTENT            OF
    SAID         STATEMENTS.                    THESE         STATEMENTS,                   WE HAVE            BEEN          INFORMED,               DO   NOT
    CONTAIN            ANY         PAYMENTS       FOR          FREE   GOODS,                 SCRAP           SALES           ETC.    SOLD            AND/OR
    DISTRIBUTED                    BY     CASABLANCA             RECORDS.                   MALBIZ          MUSIC            HAS      NEVER          AUDITED
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        CASABLAbCA                                                                                           RIO<'
                           RECORDS,                 SIbCE        THEY          HAVE        ALLONED                      S      MJSIC    TO       PERFORM           ,
   ALL      THE      ADMINISTRATIVE                      FUNCTIONS              CONNECTED               WITH         THE       COPYRIGHTS.
   OBVIOUSLY,            THERE     HAVE              BEEN        UNDERPAYMENTS                     FRCM
                                                                                            CASABLANCA    RECORDS    TO
   ITS   AFFILIATED            PUBLISHING                                             RICK'
                                                                                   S MJSIC;     UNDERPAYMENTS     FRCM
                                                             COvlPANY,
   RIO<'S           MJSIC      TOMALBIZ                   MUSIC;       AND MALBIZ     WSIC     TO THE WRITERS.       THE
   FUbCTIONS            EXPECTED     BY A                 WRITER       OF HIS   PUBLISHER      HAVE  NOT   TAKEN  PLACE
   LEADING    TO            HIS  FINANCIAL          DETRIMENT.         IT   IS   USUAL      IN  THIS    BUSINESS      THAT
   THE   RECORD             MANUFACTURER           PAY   FREE   GOODS     TO THE      PUBLISHER,        EITHER
   VOLUNTARILY                OR BY AUDIT.            THIS   HAS    NEVER      HAPPENED.          SINCE    THE   WRITER
   HAS   NO CONTRACTUAL                    RELATIONSHIP        TO THE     RECORD     MANJFACTURER,           THE  WRITER
   MAY ONLY     ESTIMATE                 THE   FINANCIAL       LOSS    HE HAS      SUFFERED      DUE    TO THE
   UbWILLINGNESS       OF              THE    PUBLISHER       TO PERFORM       HIS    FUbCTION.         WE HAVE
   ESTIMATED            AN ADDITIONAL                     PERCENTAGE                  OF ROYALTIES                   PAID       OR     EARNED       BY   YOU.
   WE HAVE           ESTIMATED     THIS                  PERCENTAGE                  AS FOLLO#S


                        FREE        GOODS                                20%         OF    AMDUNTS           PAID      OR       EARNED
                        OTHER         ITEMS                              10%         OF    Alv0LNTS          PAID      OR       EARNED


             THE      OTHER         ITEMS           REFERRED             TO     ABOVE           INCLUDE         SCRAP           SALES,          EXCESSIVE
   PROvOTION,               IMPROPER              ALLOCATION              OF         RETURNS          ETC.


             THE      AMCUNTS          DUE         ARE      AS    FOLLOWS:


             REPORTED           PER     STATEMENT                                                                      $57,411.68
             ADDITIONAL              AMOJNT    DUE               (SCH.          B)                                          2,608.76
             AM1NT           DUE     (SCH.          C)                                                                    12    , 550.     46
                                                                                                                        _--_      _-_---


                        TOTAL                                                                                          $72,570.90
                                                                                                                       ==========



               30%                                                                                                     $21,  771.27
                                                                                                                       ==========



             THIS       REPORT     IS         ONLY      TENTATIVE                         BASED       UPON    THE MISSING     IbFORMATION
   AS     LISTED        PREVIOUSLY.                  DUE   TO   THIS                  FACTOR,           INTEREST    HAS   NOT   YET  BEEN
   CALCULATED,              WHICH,           IN     OUR  OPINION,                     SHOULD          BE   DUE   ON CERTAIN    OF   THE
   CLAIMS.
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                A   SLIvMARY         OF   OUR       CLAIMS       IS   AS       FOLLOWS:



     SCH    A   -   ARTIST       ROYALTIES             -     PARLIAMENT                                    $    148,    513     . 4 9
                    "        "   "              "            "             "    -   SHORTFALL                     22,742.68
     TEXT
     SCH    B   -   WRITERS       ROYALTIES              RECEIVED                                                  2,608.76
     SCH    C   -   WRITERS       ROYALTIES              -  TO MARCH     31 , 1980                               12,550.46
     SCH    D   -   ARTIST       ROYALTIES             -   FUN<ADELIC                                            43,932.23
     SCH    E   -   ARTIST       ROYALTIES             -   ARISTA                                                41,471.69
     TEXT           WRITER       ROYALTIES             -   FREE             ETC.                                 21,     771.    27
                                                                  GOODS,
                                                                                                           - _ _ _--.----_




                        TOTAL                                                                              $  293,590.58
                                                                                                           ============




                                                                                     RESPECTFULLY          SUBMITTED,




                                                                                    HERZOG      AN-)    STRAUS
                                                                                    CERTIFIED          PUBLIC      ACCOUNTANTS
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                                                 BERNIE                 WORRELL
                       AUDIT   OF      THANG,               INC.         & MALBIZ    MUSIC   INC.
                                        SONG            TITLES            RECORDED




                  1            Woo      Together
                  2            Ill      Be       with          You
                  3            Hold         On
                  4            Much         Thrus.t
                  5            Happy     To             Have                                                                     .
                  6            Insurance                 Man
                  7            Much         Thrust          -       Reprise
                  8            Who     Do        You         Love
                  9            You     Know           How          To    Do    It
                  10           More         Than         Enough
                  11           For     Now
                  12           when         Your         Love
                  13           Your         booked
                  14           Spend         A     Little
                  15           Out     of        This          Mutha
                  16           Dont     Aim           Thank             Funk




                                                                                                                            ..
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                                                                          BERNIE      WORRELL                                       SCHEDULE   A
                                                                 AUDIT       OF    THANG,     INC.    &
                                                                         MALBIZ     MUSIC     INC.
                                                         ROYALTIES              DUE   RE:   PARLIAMENT




                            Income                  -    Per      Casablanca
        Royalty                                                                        Statements


              6/30/76                -       12/30/79
                                                                                                                                                           .

              Domestic                                                                                        $   2,161,322,20
             Foreign                                                                                                   87,233.97
             Record             Club                                                                                   12,878.23
             Other
                                                                                                                       (1,254.47)

                 Total                                                                                    $       2,260,179.93




        B.     Worrell                   Share:
             .0075          X       10%           (or     7½%)


                Total               Due                                                                   $          169,513.49



       Less:          Est           Cost           of     7     albums


             40,000             X        7                                              $280,000.00


             Bernie             Worrell                 Share       -     7i%                             $           21,000.00


                Total               Due                                                                   $         148,513.49
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                                                                                                        BERNIE       WORRELL
                                                                               AUDIT     OF      THANG        INC.    & MALBIZ              MUSIC   INC.
                                                                                                             PARLIAMENT
                                                                                       ARTIST       STATEMENTS             -     CASABLANCA
                                                                                                       1/76  --       12/79




                                    12_//79            6/79            12/78                     6/78                          12/77                       6/77

 egular           Royalties      254,511.11        109,938.58       309,300.42             320     ,086      .88       227,851.71                     242,160.32
Toreign           Royalty           9,756.13         18,776.63       13,907.58                  11,265.56                  23,423.32                       3,672.17
tecord        Club                  1,631.76           1,900.47        3,241.28                  1,667.19                      2,386.49                    1,867.61
fisc.                                                                  3,671.93                 (4,926.40)


 Total        Royalty            265,899.00         130,615.68      330,121.21             328,093.23                     253,661.52                  247,700.10


 dvances                        (390,750.00)       (111,500.00)    (504,880.00)           (332,077.36)                    (55,000.00)                (115,680.00)


 hargeable              Costs      (3,   304.51)      (5,299.45)      (1,558.75)              (13,521.12)                                             (19,702.02)


 älance           Forward       (175,080.16)       (188,896.39)     (12,578.85)             198,661.52                    112,318.08                  108,615.57


   yalty          Payments                                                                 (193,735.12)                (112,318.08)                  (108,615.57)


   lance                        (303,235.67)       (175,080.16)    (188,896.39)               (12,578.85)                 198,661.62                  112,318.08


    te     Adj.                                                                                                                (4,926.40)


    yment                                                                                                                 193,735.12




                                                          (

                                                       -.0
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                                                                                                                                               BERNIE      WORRELL
                                                                                                               AUDIT           OF   THANG,          INC.       & MALBIZ     MUSIC          INC.
                                                                                                               AMOUNT           DUE      RE:      WRITER        ROYALTY     STATEMENTS
                                                                                                                                        INCEPTION          TO    12/31/78



                                                                             Income        Recovered         by       Malbiz        Music         Inc.
                                                             Riks                          Col.                                                                WEA/                                     Writers
                                                         Writers          Share            Arista          Atlantic                     Warners                Candad           Total                  Share

'hildren                    of        Production         $    6,525.66                 $               $                            $                      $            .   $    6,525.66         $    6,525.66
hocaolate                         City                         3,620.09                                                                                                           3,620.09              3,620.0
r.             Fiunkenstein                                  15,483.08                                                                                                          15,483.08             15,483.08

verything                         I      On      The           4,582.23                                                                                                          4,582.23              4,582.2
'lashlight                                                   12,444.53                                                                                                          12,444.53             12,444.53
amin                On      Ya                                 6,167.17                                                                                                          6,167.17               6,167.1
fold            On                                                                         886.43                                                                                       886.43              443

appy                to      Have                                                      1,139.69                                                                                    1,139.69                  569
rooveallegiana                                                                                                                      13,505.65                     65.50         13,571.25             10,178.44
        Can         Move                                            452.04                                                                                                              452.04              452
f         It        Dont          Fit                               863.21                                                                                                              863.21              863
(11            Be        With          You                                            1,139.69                                                                                    1,139.69                  569
 unchmeatophopia                                                                                                                    40,611.83                   100.55          40,712.38             20,356.19

 isunderstanding                                                    640.90                                                                                                              640.90              640

(othership                        Conn                       14,346.31                                                                                                          14,346.31             14,346.31
fr.   Wiggles                                                  6,855.43                                                                                                           6,855.43              6,855.4
 uch             Thrust                                                                     839.94                                                                                      839.94              419
 appy                                                                                                       2,602.62                                              19.33           2,621.95              1,310.9
    .     Funk                                               23,999.78                                                                                                          23,999.78             23,999.7
 leasure                    Principle                               860.48                                                                                                              860.48              860
|relude                                                        4,589.68                                                                                                           4,589.68              4,589.6
 eprise-Much                             Thrust                                             696.47                                                                                      696.47              34
 ide             On                                            1,231.78                                                                                                           1,231.78              1,231.7
 ir            Nose         Devoida               Funk       13,800.84                                                                                                          13,800.84             13,800.8
 tar             Chief(Moth.shp.Con)                                685.42                                                                                                              685.42              685
 |upergroovealistic                                             9,449.83                                                                                                          9,449.83              9,449.8

 wing                 Dwn        Swt.Chariot                    9,657.14                e---                                                                                       9,657.14              9,657.1
 his             Is        The          Way                     3,732.31                   ,_5)                                                                                    3,732.31              3,732.3
 ogher                                                              867.35                                                                                                              867.36              86
                                                                                           ~~-
 p        for            Down           Stroke                  3,020.73                                                                                                           3,001.55              3,001.

 arship                    Touchante                                                                        3,054.36                                              24.19            3,078.55             1,539.2
    hat          Comes                Funky                         863.17                                                                                                              863.17               86
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                                                                                                                                                   BERNIE         WORRELL
                                                                                                                      AUDIT       OF         THANG      INC.&         MALBIZ         MUSIC       INC.
                                                                                                               SONGWRITERS         ROYALTIES                FROM          CASABLANCA           TO     3/31/80




                                                                                          Ricks               Music   Statements                   -   Writers            Share

                                                                                              3/31/80                        12/31/79                           9/30/79                    6/30/79

lescent                   Funk                                                 50                         -                              -                                 -                            -
                                                                                          $                             $                                   $                          $                        $
rica            Eats               It        Young                             33   1/3                   -                              -                                 --                           -
a         Boogie                                                               33   1/3                   .25                 9,797.02                                     -                            -
ance                                                                           50                         -                              -                                 -                            -
1dren              of             Productions                                  33   1/3                 2.75                     264.91                            260.35                       480.38
That            Stuff                                                          33   1/3                 6.57                     335.23                            303.16                       577.12
\ Funkenstein                                                                  33   1/3                 9.24                     827.51                             748.73                 1,574.16
rybody                  is         Going            To    Make            It   50                         -                              -                                 -                            -

rything                      Is         On     The       One                   50                        (.46)                     64.88                             48.18                          54.36
shlight                                                                        33   1/3       1,361.01                      26,189.71                           2,722.64                     4,490.42
in         On        Ya                                                        33   1/3                 1.93                     250.68                             221.41                      447.74
pveallegiance                                                                  33   1/3                   -                           -                                  -                              -
 icore               Jollies                                                   50                         -                              -                                 -                            -
 in         Move             If         You     Let         Me                 25                             .32                            .14                               .74                   2.20
 Et        Dont              Fit,Dont                 Force          It        33   1/3             (1.44)                              2.27                          (2.34)                           -
 fou           Got           Funk             You     Got        Style         33   1/3
    ful        Process                                                         50
     h      Meat             OPhobia                                           50
     ership                  Conn.(Star                     Child)             33   1/3                  6.40                     394.59                            316.77                       589.72
     Wiggles                                                                   25                   34.57                         132.80                              61.17                      932.91
. y                                                                            25                      -                               -                                  -                           -
     nk                                                                        33   1/3                  8.31                     684.76                            371.57                       701.24
      ude                                                                      50                        (.68)                     64.88                              48.18                         55.72
          On                                                                   25                       (1.34)                      (1.10)                                 (2.70)                       (.64)
          Up                                                                   25
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                                                                                         AUDIT       OF         THANG   INC.         & MALBIZ        MUSIC            I.       C .
                                                                                  SONGNRITERS               ROYALTIES          FROM           CASABLANCA         TO             3/31/80




                                                                                 Ricks    Music        Statements               -    Writers        Share

                                                                   3/31/80                  12/30/79                         9/30/79                        6/30/79




  of      Armagedden                                25                       -                              -                             -                                -
                                                               $                            $                            $                                  $
hip       Touchante                                 33   1/3
  Comes                                             33   1/3                 -                              -                             -                                .22
                 Funky
Hit       The     Nail       On        The   Head   33   1/3
sure        Principle             II                33   1/3         (20.10)                        (40.73)
olate          City                                 25                 (1.30)                           2.83                            (.49)                              .28

nderstanding                                        33   1/3           (1.20)                       (17.40)                         (63.32)                       (8 .04)
sure     Principle                                  33   1/3         (21.45)                         (60.31)                        (71.24)                       (9.05)
  ose       Douidafunk                              33   1/3         596.62                      2,689.96                      2,936.87                     2,084.59
       Groovalistic                                 25                  1.48                          70.68                          90.31                       84.94
       Down      Sweet                              33   1/3   1,160.67                          3,443.13                    1,578.73                       4,247.66
  Is       The        Way                           25                  4.48                        254.07                          216.52                      491.64
  her                                               25                 (1.44)                         35.29                           (2.34)                                   .22
  r      The     Down       Stroke                  25                   3.30                       356.46                           10.66                        20.44


                                                                                                                                                                           Amount         Du
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                                                              BERNIE            WORRELL                                                  SCHEDULE           D
                                       AUDIT     OF      THANG         INC.         & MALBIZ       MUSIC         INC.
                                               ROYALTIES               DUE      -   RE   FUNKADELIC



                                                             Per       Warner         Bros       Statements
                                                           12/77                         6/78                  12/78                                Total

         Royalty-Domestic                              $(13,075.69)$(2,934.14)$644,029.79                                         $              $628,019.96
         Escalstion              Clause                           -                   -                       57,385.48                             57,385.48
         Foreign                                             1,135.34                    805.50                    250.75                             2,l91-59

         2'otal                                        $(11,940.35)$(2,128.64)$701,666.02                                                     $687,597.03


         Reserves             Held                                 -                         -             61,827.27                               61,827.27


                                                       $(ll,940.35)$(2,128.64)$639,838.75                                                     $625,769.76




        B.Worrell              Share                                                                                                                 7      ½ %

        Amount          Due                                                                                                                        46,932.73
                                                                                                                                             $

        Less:         Est.      Cost      of   Album                                                                        $40,000.00


                     Bernie          Worrell      Share                                                                                              3,000.00
                                                                                                                                             $

        Net       Amount        Due                                                                                                                43,932.73
                                                                                                                                             $
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                                                  BERNIE        WORRELL
                                                                                                                  SCHEDULE   E
                                             AUDIT     OF      THANG   INC.       &
                                                MALBIZ         MUSIC   INC.
                                         ROYALTIES       DUE     - RE:    ARISTA




           Advance             Received         on   Signing                                     $    50,000.00
           Album            Production          Advance                                               65,000.00


               Total                                                                             $   115,000.00




           Cost        of      Album:


               Session            Costs                                       $       6,354.14
               studio                                                             25,702.49
                                                                                                      32,056.63


           Shortfall                                                                                  82,943.37


           50%     Due         Bernie       Worrell                                              $    41,471.69
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                                                                  AUDIT   OF   THANG      INC.      & MALBIZ        MUSIC        INC.
                                                                      BERSIE    hDRRELL           ALBUM   STUDIO        TIME



                                                                                      TOTAL                          B.WORRELL

   8/28/73                33824            United    Sound                       $      460.32                  $       460.32
   10/2                   33334            United    Sound                              216.64                          216.64
   10/6                   33366            United    Sound                                29.75                          29.75
   9/6                    33215            United    Sound                                28.00                          28.00
   8/18                   32884            United    Sound                           1,560.00                       1,272.00
   8/18                   33831            United    Sound                                29.75                           29.75
   8/l6                   33819            United    Sound                              936.25                          468.13
   8/14                   33806            United    Sound                              890.82                          890.82
   8/9                    33179            United    Sound                              950.20                          950.20
   8/8                    33176            United    Sound                           1,270.16                       1,270.16
   8/3                    33159            United    Sound                              678.64                          678.64
   8/2                    33153            United    Sound                              675.00                          675.00
   8/1                    33146            United    Sound                           1,115,03                       1,115.03
   7/31                   33131            United    Sound                               438.75                         438.75
   7/31                   33130            United    Sound                           1,604.50                       1,604.50
   7/27                   33117             United   Sound                               621.44                         621.44
   7/28                   33109             United   Sound                           1,034.38                       1,034.38
   7/27                   33098             United   Sound                               786.88                         786.88
   6/28                   33027             United   Sound                           1,188.75                       1,188.75
   6/27                   33026             United   Sound                           1,253.75                           998.75
   6/23                   33012             United   Sound                               958.13                         958.13
   6/21                    33001            United   Sound                           1,061.25                           530.63
   6/21                    33002            United   Sound                           1,034.00                           258.50
   4/18                    32739            United    Sound                              120.00                         120.00
   4/2                     32727            United    Sound                          1,057.28                        1,057.28
   4/11                    32730            United    Sound                              854.78                         854.78
   3/9                     32596            United    Sound                          1,420.82                        1,420.82
   6/2                     32879            United    Sound                          1,264.78                           402.50
   2/21                    32528            Uhited    Sound                          1,568.53                           547.50
   2/9                     32472            United    Sound                              650.40                         216.80
   1/24                    32402            United    Sound                              403.64                         134.54
   1/11                    32338            United    Sound                          1,509.03                        1,509.03
   1/6                     32320            United    Sound                          1,642.32                        1,642.32
   1/4                     32307            United    Sound                              917.78                          917.78
                                            D.Van    De   Ritte                          946.00                          374.00
                                                                                                            $       25,702.50
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                                                                                             SCHEDULE       E
                                                                                             EXHIBIT    2




                                           Total             B .    Worrel      l


           1/5/78         321579              819.60               819.60           #    1,4,5
           1/2            321557              819.60               819.60           #    2,3
           1/11           321559           1,639.20                819.60           #    14,8,6
           2/l3           321867           4,377.61          1,459.20               #    1
           2/13           321866           4,576.40          1,525.47               #8
                                           1 , 366    . 00         910   .6 7


                                   Total                     6,354.14




                                                                                                                          . .
